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January 13, 2025

Sent via ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

RE:      The New York Times Co. v. Microsoft Corp., et al., No. 1:23-cv-11195
         Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-3285
         The Center for Investigative Reporting, Inc. v. Microsoft Corp., et al., No. 1:24-cv-04872
         Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292
         Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211

Dear Judge Wang:

Microsoft and OpenAI respectfully request that the Court endorse their proposal for Deposition
Coordination, attached as Exhibit 1, to be implemented across the Consolidated Newspaper
Action (“News Cases”) and the New York Consolidated Class Action (“NY Class Cases”)
(collectively, the “NY Cases”) pursuant to Federal Rules of Civil Procedure 16, 26, and 30.1
The NY Cases will benefit greatly from deposition coordination in order to promote fairness and
efficiency. Individual witnesses should not be deposed multiple times and for many hours when
the relevant subject matter of such depositions is likely to be identical or have a very high degree
of overlap across the cases. See Fed. R. Civ. P. 26(b)(2)(C) (requiring protection from
“unreasonably cumulative or duplicative” discovery). In addition, the sheer number of plaintiffs
and complexity of the cases are such that the ten-deposition limit does not make sense. All parties
agree that deposition coordination in the NY Cases is a good idea. All parties also agree that the
timing of likely deposition discovery is such that this matter should be addressed by the Court at
the January status conference.
Unfortunately, despite many discussions and proposals, the parties cannot agree on how to solve
these problems. Taking to heart the Court’s comments at the October conference, Defendants went
back to the drawing board and came up with an entirely new, simplified proposal that effectuates
coordination only in the NY Cases. Plaintiffs, in contrast, have simply refused to respond to a
simple and straightforward proposal and continue to offer multiple competing, overly complex,
and unduly burdensome options.
Good cause exists to modify the default deposition limits and coordinate discovery in the fashion
proposed by Defendants. First, absent coordination, the substantial overlap of legal and factual
issues in the NY Class and News Cases would result in subjecting the same witnesses to repeated,

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  The Consolidated Newspaper Actions are The New York Times Co. v. Microsoft Corp., et al., No. 1:23-cv-11195
(“New York Times”), Daily News, LP, et al. v. Microsoft Corp., et al., No. 1-24-cv-3285 (“Daily News”), and The
Center for Investigative Reporting, Inc. v. Microsoft Corp., et al., No. 1:24-cv-04872 (“CIR”). The New York
Consolidated Class Actions are Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292 and Alter et al. v. OpenAI
Inc. et al., No. 1:23-cv-10211.
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duplicative depositions. The core of both cases involves the training and operation of OpenAI’s
GPT models and the relationship between OpenAI and Microsoft, and there is no point in requiring
the same witnesses from OpenAI and Microsoft to sit over and over again answering the same
questions on these common topics. See In re Acetaminophen-ASD-ADHD Prods. Liab. Litig., No.
22MC3043 (DLC), 2023 WL 580998, at *2 (S.D.N.Y. Jan. 27, 2023) (permitting counsel in
coordinated action permission to cross-notice, attend, and, subject to certain conditions, participate
in any non-expert deposition); In re Gen. Motors LLC Ignition Switch Litig., No. 14-MC-2543
(JMF), 2015 WL 13820855, at *2 (S.D.N.Y. Feb. 23, 2015) (removing limits on number of
depositions while providing for a single deposition of any witness common to the various
proceedings). Second, pretrial consolidation has effectively joined all parties in each set of
consolidated actions for discovery purposes such that the Rule 30 ten-deposition limit applies
collectively to each side. The NY Class Cases have more than thirty named plaintiffs and the News
Cases have ten different entity plaintiffs, making it impossible for Defendants to complete essential
30(b)(1) and 30(b)(6) depositions under the default limit.

Defendants’ streamlined proposal addresses these issues by using an hours-based counting
approach rather than a witness-based counting approach. The total number of hours proposed by
Defendants available for each party is closely tied to the total number of hours that would otherwise
be available under Rule 30 if the ten-deposition limit were applied on a per-party basis (each
opposing party group would be permitted to take the equivalent of 10 depositions of each party).
And, even though there are numerous named Plaintiffs in the NY Class Cases, Defendants are not
seeking to depose each of them for a full seven hours (or indeed, anywhere near that amount).

Defendants’ simplified proposal also includes specific provisions for cross-noticing depositions,
variable specified time limits for witnesses depending upon whether the deposition is a 30(b)(1)
or 30(b)(6) deposition, and also enables coordination of the timing of a deposition so that a witness
can sit once in all of the pending cases. Finally, consistent with the Court’s direction at the October
status conference, Defendants’ proposal does not require the Plaintiffs in the NY Cases and
California Consolidated Class Action to coordinate their activity, but provides a method to
coordinate scheduling whereby Defendants can seek an option for the same witness to sit for
deposition once in all cases.2

Defendants look forward to discussing their proposal with the Court at the January 22 status
conference and ask that the Court enter their proposed Order, attached hereto as Exhibit 2.

Respectfully submitted,

/s/ Annette L. Hurst                                  /s/ R. Jamie Slaughter

Annette L. Hurst                                      R. Jamie Slaughter
Counsel for Microsoft                                 Counsel for OpenAI Defendants


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 The California Consolidated Class Action consists of the following cases: Tremblay, et al. v. OpenAI, Inc., et al.,
No. 3:23-cv-03223; Silverman, et al. v. OpenAI, Inc, et al., No. 4:23-cv-03416; Chabon, et al. v. OpenAI, Inc, et al.,
No. 4:23-cv-04625. Microsoft is not a party to the California Consolidated Class Action cases.
